                                  ORDER
AND NOW, this 14th day of July, 1997, following the presentation of position by counsel for the Judicial Conduct Board and by counsel for respondent, and after the exercise by appellant of her right to allocution, the Court ACCEPTS as evidence that the misconduct of appellant was an isolated incident and that the respondent was motivated not by lucre but by personal pique and annoyance, CONCLUDES that the misconduct was, nonetheless, of a most serious nature for respondent attempted, as the parties agree, to "tip the scales of justice", and, therefore, the Court REJECTS the recommendation of the Judicial Conduct Board that the Court issue a reprimand upon appellant, and DIRECTS:
THAT appellant be suspended from the performance of the duties of District Justice.
THAT the suspension be for a period of sixty (60) days.
THAT the suspension be served without payment of compensation and allowances, and
THAT the suspension from office commence August 1, 1997.